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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

KORONE ROBINSON,                              )
                                              )
               Plaintiff,                     )
vs.                                           )
                                              )   CIVIL CASE NO. 2:17-cv-99
CITY OF DARIEN, DARIEN POLICE                 )
DEPARTMENT, DONNIE HOWARD,                    )
RYAN ALEXANDER AND                            )
JOSEPH CRESWELL,                              )
          Defendants.                         )
                                              )
                                              )

         PLAINTIFF’S SUPPLEMENTAL BRIEF AFTER ORAL ARGUMENTS

        Comes now Plaintiff, by and through his counsel of record, and files this his

Supplemental Brief in support of arguments raised and or contested as a result of oral arguments

held on October 10, 2018. Plaintiff incorporates all pleadings, briefs, and discovery filed by both

parties, and shows the Court the following:

                                   Factual Discussion

  I.    The disputed facts as to when Robinson and Miller began dating are material

        and unable to be resolved absent the fact finder weighing credibility of the

        witness and evidence

        Establishing when Robinson and Miller initiated a relationship is material

specifically as to the April 2015 directive for Robinson and Miller to refrain from

traveling in a vehicle together absent approval. If the relationship began at any time

subsequent to the April 2015 directive determining the exact date the relationship began

becomes immaterial, rather at that point determining when the couple went public

becomes the material issue. Robinson testified that even though they were not yet dating

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when the directive was issued Alexander explained that it “didn’t look good” for them to

be in a vehicle together and while he did not personally care to give him a “heads up”

when they were going to ride together. (Robinson Dep., 103: 1-18). Defendants

however, argue the April 2015 directive was a direct result of Robinson and Miller being

in a relationship. (Dkt. No. 26-1 pg. 9).

        Not only does the record contain sufficient evidence from which a reasonable fact

finder could find the pair did not begin dating until sometime after June 20151,

Defendants are unable to agree on one timeline even amongst themselves. First Howard

testified that the learned the couple was dating directly from Robinson and Miller, but

was not able to state with certainty when this occurred. (Howard Dep., 309:5-12). Later

Alexander testified unequivocally he knew the pair were dating after they attended a

concert together, which occured in December 2015, then with equal conviction he swore

the couple had to be dating when his grandfather passed away in March 2015, before

finally producing a text message dated September 2015 which references an

“anniversary” and now Defendants claim they started dating in September 2014. (Dkt.

No., 35 at 5).

        There are abundant contradictions and inconsistencies proffered by Alexander as

to his knowledge of Robinson’s relationships as well as his commands to Robinson

which could allow a reasonable factfinder to discredit his testimony. At one point during

his deposition he testified that he did not make any official change in policy regarding

vehicles until January 2016 at which time he ordered Robinson and Miller to refrain from



1
  As cited in his Response to Defendants’ Motion for Summary Judgment, there is evidence in the record, in
addition to his own testimony, as to when his prior relationship ended and he moved as well as his advocating for
another officer to be hired to replace Miller in June 2015.

                                                                                                                    2
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traveling together for any purpose2. (Id. 147: 20 -148:12). Alexander further stated no

less than six times during his deposition he was not good with dates or time while

discussing the timing of Robinson and Miller’s relationship. (Alexander Dep., 153; 154;

156; 157; 285). He candidly admitted “As far as dates, I’ve told you all day I have not a

clue. When it comes to time, I couldn’t help you. I’m lost.” (Id. at 286:17-19). Most

importantly, Alexander’s credibility is severely impaired if not nullified by his own

testimony that he would in fact lie to Robinson, Miller, and even then Captain Davis. (Id.

at 106:1 - 107:21).

           A reasonable factfinder could determine that Robinson and Miller did not begin

dating until sometime after June 2015 which refutes the proffered reason for issuing the

April 2015 directive. Furthermore, in light of the uncontested testimony that the couple

took their relationship “public” after attending a concert with Alexander and his wife in

December 2015, a reasonable factfinder could determine it was being subjected to the

newly visible interracial relationship which motivated the chain of adverse employment

actions beginning in January 20163.

    II.    Contradictions between deposition testimony and affidavits filed on behalf of

           defendants Motion in Support of Summary Judgment are material

           The conflict between affidavits filed in support of Defendants’ Motion for

Summary Judgment and deposition testimony directly impact three crucial issues in this

case; when or if Alexander disclosed Robinson’s alleged insubordination before he

resigned, the motivation for transferring Robinson to patrol and finally what information

2
 This supports Robinson’s testimony, that the April 2015 directive was not actually from
Alexander who did not care if the investigators traveled together.
3
 The record contains evidence that this was the first interracial relationship which Robinson engaged in publically
and Defendants unable to refute this fact focus exclusively on their prior knowledge Robinson had dated white
women in the past. (Howard Dep. 335:14-16).

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was known or physically available to Howard on June 27, 2016 at the time he decided to

terminate Robinson.

       Alexander first testified during his deposition that while he had knowledge of

other instances of Robinson and Miller riding in a vehicle together he had had not

presented the information because he had resigned from DPD. (Alexander Dep., 165:18 -

167:8). In contrast, Alexander states in his affidavit that he disclosed additional instances

of insubordination allegedly occurring after January 2016, to Howard while Robinson

was on forced leave and before he resigned. (Alexander Aff., ¶¶5,6). In addition to the

inherent contradiction between his deposition testimony and affidavit there is also

evidence in the record that Alexander attempted to suspend Robinson two additional

times after January 2016 and in both instances he acted without information,

investigation, or documentation as to the alleged infractions. (Dkt. No. 34 at 9,12).

Alexander’s additional attempts to suspend/punish Robinson in the absence of

information or documentation begs the question, why would he forgo

suspending/punishing Robinson if he in fact had evidence of insubordination in favor of

his unsupported attempts prior to resigning?

       Howard testified during his deposition that he disbanded narcotics because after

Alexander resigned there was no one to investigate narcotics. (Howard Dep., 235:6-15).

However, he also testified that he expressly informed Robinson he could run the narcotics

division while working in patrol and was able to continue working narcotics

investigations as he came across them. (Id. at 239:2-10). Moreover, despite extensive

questioning as to when and why he transferred Robinson to patrol Howard did not so

much as imply, let alone state, he had transferred Robinson to separate him and Miller or



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that he had been informed of any issue with insubordination. However through his

affidavits Howard expounds upon his reasoning for transferring Robinson and further

claims after he disbanded the narcotics division “no one performed any narcotics

investigations for eighteen months” when he then elected to reopen the division and

promote Sgt. Creswell to narcotics investigator. (Dkt. No. 35, Ex. 1, Howard’s Second

Aff.).

         In regards to when he decided to terminate Robinson, Howard testified during his

deposition that Brown was present at lunch when the group was approached by the fire

chief about the comment on the radio. (Howard Dep., 275:11). He agreed with officer

Turner’s testimony that they did not know the identity of the officer who made the

comment and it took time to determine the identity of the officer. (Id. at 276:2-18).

         In light of the irreconcilable material conflict between the deposition testimony of

Alexander, Howard, and Brown and their respective subsequent affidavits, a reasonable

factfinder could find that Alexander did not disclose any additional instances of alleged

insubordination and/or that insubordination motivated Robinson’s demotion4 or finally,

as Robinson has previously argued, calls into question what information was actually

available and to whom on June 27, 2016 when the termination decision was made. (Dkt.

No., 34 pg. 19; Dkt. No. 36 pg. 5). As Brown’s subjective testimony is the only source of

information physically available to Howard at the time he decided to terminate Robinson

discrepancy between Howard and Browns Depositions and subsequent affidavits directly

relates to the veracity of Defendants proffered explanation for their actions.

                              Argument and Citation of Authority

4
  It becomes increasingly likely that a reasonable fact finder would discount the conflicting Alexander and Howard’s
testimony in favor of testimony from disinterested witnesses such as Archie Davis, whose recollec even Howard
admitted he would not question. (Howard Dep.,

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   I.       Plaintiff is able to establish a prima facie case under the McDonnell

            Douglas framework or other permissible permutation of intentional

            discrimination for every subject adverse action.

         As the Defendants conceded at oral arguments we must address each distinct

claimed category of adverse action- discipline, demotion, termination, and reporting to

POST.

   a. Comparator Evidence

         Both sides have argued extensively as to the existence or absence of comparator

evidence and Robinson will not replicate those arguments now. However, as raised at

oral arguments Miller is similarly situated employees outside Robinson’s class who was

given far better treatment despite engaging in identical conduct. It is illogical to claim,

nor has plaintiff’s counsel been able to locate any precedent holding, that a comparator is

disqualified if he or she is involved as a co-actor in the plaintiff-employee’s alleged

misconduct. Such an argument turns the law on its head.

   b. Other Evidence of Discrimination

         As Defendants concede, evidence of a suitable comparator is only one means for

satisfying the traditional formulation of the prima facie case, but in the absence of a

comparator we must look to whether the plaintiff has “come forward with other evidence

of discrimination.” Rioux v. City of Atlanta, Ga., 520 F.3d 1269, 1276–77 (11th Cir.

2008). It is not the volume, but rather the nature of the circumstantial evidence which

determines if a reasonable factfinder could infer discriminatory intent.

         Despite Defendants’ argument to the contrary there are numerous examples of

plaintiff-employee’s claims surviving summary judgment (or should have survived



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summary judgment) under the “other evidence” analysis applied in Wilson and Rioux.

Wilson v. B/E Aerospace, Inc., 376 F.3d 1079 (emphasis added); Rioux, 520 F.3d 1269.

See Cooper-Houston v. Southern Railway Co., 37 F.3d 603, 605 (11th Cir. 1994); see

also Torres-Skair v. Medco Health Solutions, Inc., 2014 WL 6805113 (11th Cir. 2011);

see also Smith v. Lockhed-Martin Corp., 644 F.3d 1321 (11th Cir. 2011).

       In this case the record contains sufficient “other evidence” of discrimination.

First, Howard permitted the Nazi Flag to be displayed in both the old and current DPD

headquarters and his and Alexander’s testimony regarding the same is contradicted by

disinterested third party witnesses. Second, former officer Gault testified he heard

Howard state he became physically ill when he learned his daughter was dating a black

man during a conversation regarding interracial dating. Third, Gault further testified that

the attitude at DPD towards Robinson changed after everyone found out he and Miller

were in a relationship. Fourth, Howard admitted he told a story about placing

watermelon on the side of the street to wait for unsuspecting African Americans to come

get it so he could shoot them with his BB gun. Fifth, Howard admitted that the conduct of

the other officers he permitted to resign was in fact worse than Robinson’s conduct.

Sixth, Robinson and Miller’s relationship was the first interracial relationship to occur at

DPD. Finally, Davis testified Howard ceased praising Robinson’s work performance in

January 2016, which is after Robinson and Miller took their relationship public.

           c. Even if Defendants’ met their burden of production the record

               contains sufficient evidence which would allow a reasonable factfinder

               to believe the proffered reason is mere pretext




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        Even the presence of merely a few admissions, when accompanied with some

evidence of discriminatory animus, while not “…amounting to direct evidence, but

showing some [discriminatory] animus, may be significant evidence of pretext...” Wilson

v. B/E Aerospace, Inc., 376 F.3d 1079, 1091 (the employer’s simple alleged statements

that “women aren't typically in that type of position,” was sufficient to allow a reasonable

factfinder to infer discriminatory animus). Cooper-Houston v. Southern Railway Co., 37

F.3d 603, 605 (11th Cir. 1994).

        In addition, sufficient evidence of inconsistencies, implausibility’s, contradictions

in the employer’s proffered legitimate reasons for its actions may demonstrate pretext.

Combs v. Plantation Patterns, 106 F.3d 1519 (11th Cir. 1997). If the plaintiff-employee

introduces F.3d evidence sufficient to permit the factfinder to disbelieve the employer’s

proffered explanations summary judgment is not appropriate. Id. at 1580. In Combs the

employer provided three non-discriminatory legitimate reasons for not promoting the

plaintiff-employee.Id. However, there was contradictory evidence as well as conflict

within the employer’s own testimony such that a reasonable factfinder could infer the

proffered reasons were merely pretextual. Id.

        Robinson has previously cited to the voluminous material factual discrepancies

contained in the record and will not recite the same here in the interest of efficiency.

 II.    Application of the Pickering balance test shows Defendant's’ proffered interest

        for infringing upon Robinson’s right of Intimate Association is insufficient to

        justify their actions.

        Dating is a recognized associational relationship protected under the First

Amendment. Wilson v. Tayler, 733 F. 2d 1539 (11th Cir. 1984) reversed on other



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grounds. Under Shahar v. Bowers, the eleventh circuit court of appeals ruled the

appropriate test applicable to claims of violation of the right to intimate association under

the First Amendment in the public employment context is the Pickering balancing test.

114 F. 3d 1097 (11th Cir. 1997). The court further explained that Parks v. City of Warner

Robins, the case Defendants rely on in support of their motion is applicable to situations

wherein a legislative act is at issue. Id. fn. 14. “Pickering balancing, in the public

employment context, involves the weighing of the employee's interest in the exercise of a

constitutional right against the employer's interest in maintaining an efficient workplace.”

Starling v. Bd. Of Cty. Comm'rs, 602 F.3d 1257, 1261 (11th Cir. 2010).

        To establish a claim the employee must show that “...the associational activity

was a substantial or motivating factor in the employer’s [adverse] action, and, if so,

whether a preponderance of evidence supports the conclusion that the adverse action

would not have occurred in the absence of the associational activities.”Boudreaux v.

McArtor, 681 F. App'x 800, 803 (11th Cir. 2017); Hatcher v. Bd. of Pub. Educ. &

Orphanage for Bibb Cty., 809 F.2d 1546, 1559 (11th Cir. 1987)(court reversed summary

judgment holding genuine issues of material fact as to employer’s motivation for adverse

action as well as whether employer’s interest in efficient operation outweighed the

employee’s right of free association). “[T]he factfinder should determine whether the

balance between appellant's interest in engaging in the associational activity, and the

state's interest as an employer in promoting efficient operation... supports the challenged

action.” Id. at 803.

        In the instant case, Robinson is claiming disparate treatment through the targeted

and arbitrary application of an ad hoc vehicle policy applicable only to Robinson and



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Miller, unexplained shift transfers, an attempt to transfer Miller to patrol, and the attempt

to suspend Robinson in March 2016 when he acted in his private capacity regarding

Miller’s cellular service. In addition, Sgt. Creswell and his girlfriend, Carley Howard, are

another couple working for DPD and who are able to have regularly if not daily

interaction and been permitted to ride in Creswell’s issued vehicle. If prioritizing each

other's safety over that of the public or securing the scene was a legitimate concern of

DPD it is refuted in light of the continued practice to permit officers to transport their

civilian girlfriends in their issued vehicles while on duty. One officer even had his

civilian girlfriend in the vehicle during a high speed chase and was not punished and even

permitted to have her ride along again after the incident.

       The “employer-generated restriction on [Robinson and Miller’s] relationship” is

not connected to any proffered business concern; as such a reasonable factfinder could

infer they are truly thinly-veiled attempt to damage Robinson’s relationship with Miller

outside of work by putting pressure on them within the workplace.

                                         Conclusion

       The Plaintiff has established the presence of genuine issue of material fact and

respectfully requests the Court to deny Defendants’ Motion for Summary Judgment.


       This 19th day of October, 2018.
                                                       /s/ Katie S. Mitchell
                                                       KATIE S. MITCHELL
                                                       Georgia Bar No. 106088
                                                       /s/ Scott G. Reddock
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               Plaintiff,                      )
vs.                                            )
                                               )   CIVIL CASE NO. 2:17-cv-99
CITY OF DARIEN, DARIEN POLICE                  )
DEPARTMENT, DONNIE HOWARD,                     )
RYAN ALEXANDER AND                             )
JOSEPH CRESWELL,                               )
          Defendants.                          )
                                               )

                                 CERTIFICATE OF SERVICE
        This is to certify that I have this day served all parties in this case in accordance with the

directives from the Court Notice of Electronic Filing (“NEF”), which was generated as a result of

                                          electronic filing.


        This 19th day of October, 2018.



                                                      By: /S/ Katie S. Mitchell_________
                                                      Katie S. Mitchell
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                                                      /S/ Scott G. Reddock
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